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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DEAN BENJAMIN, Case No.: 5:21-cv-01400-DSF-SP
— Hon. Dale S. Fischer
Plaintiff,
VS. ORDER OF DISMISSAL WITH
PREJUDICE AS TO CREDENCE
CREDENCE RESOURCE RESOURCE MANAGEMENT, LLC

MANAGEMENT, LLC, TRANS
UNION LLC, AND DOES 1-10,
inclusive,

Defendants.

 

IT IS SO ORDERED that, pursuant to the Stipulation of Plaintiff Dean
Benjamin (“Plaintiff”) and Defendant Credence Resource Management, LLC, this
matter is dismissed as to Defendant Credence Resource Management, LLC only
with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
Procedure. The Court retains jurisdiction for 60 days to vacate this Order and to
reopen the action on a showing of good cause that the settlement has not been
completed and further proceedings are necessary.

Each party shall bear their own costs and attorneys’ fees.

DATED this 4TH day of October , 2021.
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HONORABLE DALE S. FISCHER
UNITED STATES DISTRICT JUDGE

 

 

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ORDER FOR DISMISSAL OF CREDENCE RESOURCE MANAGEMENT, LLC

 

 
